       3:24-cv-05072-JDA       Date Filed 09/27/24     Entry Number 25       Page 1 of 28




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA

 STEVEN V. BIXBY, MARION BOWMAN, JR.,
 MIKAL D. MAHDI, RICHARD BERNARD MOORE,
 FREDDIE EUGENE OWENS, and BRAD KEITH
 SIGMON,

                                Plaintiffs,
            v.
                                                         Civil Action No.: 3:24-cv-5072-JDA
 BRYAN P. STIRLING, in his official capacity as
 the Director of the South Carolina Department
 of Corrections; and SOUTH CAROLINA
                                                    GOVERNOR MCMASTER, DIRECTOR
 DEPARTMENT OF CORRECTIONS,
                                                         STIRLING, & SCDC’S
                                                         MOTION TO DISMISS
                              Defendants,

 and

 HENRY DARGAN MCMASTER, in his official
 capacity as Governor of the State of South
 Carolina,

                   Intervenor–Defendant.


        Henry Dargan McMaster, in his official capacity as Governor of the State of South

Carolina; Bryan P. Stirling, in his official capacity as the Director of the South Carolina

Department of Corrections (“SCDC”); and SCDC move to dismiss Plaintiffs’ Complaint (ECF No.

1) under Federal Rules of Civil Procedure 12(b)(1) and (6). 1

                                       INTRODUCTION

        South Carolina can carry out an execution by lethal injection only because of the Shield

Statute, which protects the identity of anyone who “compounds,” “manufacturers,” or “supplies”

lethal injection drugs (as well as anyone else involved in carrying out an execution). S.C. Code



        1
       Under Local Civil Rule 7.04 (D.S.C.), a full explanation of the motion is provided in this
document, so a separate memorandum would serve no useful purpose.
     3:24-cv-05072-JDA         Date Filed 09/27/24       Entry Number 25        Page 2 of 28




Ann. § 24-3-580(A)(1). Having exhausted challenges to their convictions and sentences, Death

Row Inmates now challenge this Shield Statute. They frame their four claims differently, but they

all flow from the same flawed premise that Death Row Inmates have a constitutional right to obtain

more information about lethal injection drugs.

       Death Row Inmates are wrong. Nothing in federal law requires South Carolina to give them

additional information. That the S.C. General Assembly, as an act of legislative grace, offers them

the chance to elect a method of execution does not mean that they also have a right to more

information than the S.C. Supreme Court has already guaranteed them. See Owens v. Stirling, 443

S.C. 246, 293, 904 S.E.2d 580, 605 (2024) (the Director must explain “how he determined the

drugs were of sufficient ‘potency, purity, and stability’ to carry out their intended purpose”). Nor

is there a facial problem with the Shield Statute. Against the backdrop of years of lobbying by anti-

death penalty advocates, the State concluded that ensuring those involved with supplying lethal

injection drugs are not publicly identified was the only way to make lethal injection available. The

Shield Statute reflects this reality and promotes the State’s “significant interest in enforcing its

criminal judgments.” Nelson v. Campbell, 541 U.S. 637, 650 (2004). Death Row Inmates have no

right to “discover grievances” about how the State carries out this interest to enable them to bring

lawsuits. Lewis v. Casey, 518 U.S. 343, 354 (1996) (emphasis omitted). And they cannot do

through their lawyers what they cannot do themselves.

       Of course, all this matters only if Death Row Inmates will elect lethal injection. South

Carolina also gives them the option to choose electrocution or the firing squad. See S.C. Code Ann.

§ 24-3-530(A). Sigmon and Moore have already admitted in state court that a single dose of

pentobarbital is “the most reliable and humane way to conduct a lethal injection.” R. p. 113, No.

2022-001280 (S.C. Oct. 27, 2022). Presumably Bixby, Bowman, and Mahdi take this view as well.




                                                 2
     3:24-cv-05072-JDA         Date Filed 09/27/24      Entry Number 25       Page 3 of 28




Otherwise, they would not have sued for more information about the lethal injection drugs. Thus,

they have implicitly acknowledged that they cannot bring a facial challenge to their option to

proceed with execution by lethal injection using a single dose of pentobarbital under the Eighth

Amendment.

       Death Row Inmates’ claims should be dismissed, and this lawsuit is no basis to prevent

South Carolina from carrying out duly imposed death sentences after Death Row Inmates were

convicted of brutal murders many years ago.

                                  STATEMENT OF FACTS

       A.      Death Row Inmates are convicted of heinous crimes.

       Plaintiffs are five 2 Death Row Inmates. Brad Sigmon killed two people “by repeatedly

striking them in their heads with a baseball bat.” State v. Sigmon, 366 S.C. 552, 554, 623 S.E.2d

648, 649 (2005). Richard Moore shot his victim during a robbery before running off with the

money. State v. Moore, 357 S.C. 458, 461, 593 S.E.2d 608, 610 (2004). Steven Bixby had a dispute

with SCDOT about a right of way that led him to kill a law enforcement officer during an hours’

long standoff. State v. Bixby, 388 S.C. 528, 535–40, 698 S.E.2d 572, 576–78 (2010). Marion

Bowman shot a woman who he claimed owed him money, then burned her body inside her car.

State v. Bowman, 366 S.C. 485, 489–92, 623 S.E.2d 378, 380–82 (2005). And Mikal Mahdi shot

his victim nine times (three times in the head) before he “poured diesel fuel over the body and lit

it.” Mahdi v. State, 383 S.C. 135, 137, 678 S.E.2d 807, 808 (2009). Death Row Inmates were

sentenced to death and have exhausted their direct and collateral appeals.




       2
        It was originally six, but Owens was executed, without complication, by lethal injection
on September 20, 2024.


                                                3
      3:24-cv-05072-JDA           Date Filed 09/27/24        Entry Number 25     Page 4 of 28




        B.      South Carolina amends its methods-of-execution statute.

        From 1995 until May 2021, South Carolina law authorized electrocution and lethal

injection for carrying out a death sentence. See 1995 S.C. Acts No. 108, § 1 (codified at S.C. Code

Ann. § 24-3-530(A) (2007)). Under that statutory framework, an inmate had to elect one of those

methods 14 days before his execution; if he made no election, lethal injection was the default

method. See id.

        Between 2013 and 2023, SCDC could not obtain the drugs necessary for lethal injection.

SCDC therefore could not execute a condemned inmate who did not affirmatively elect

electrocution. In other words, even after a condemned inmate had exhausted his direct appeals and

collateral challenges, SCDC could not carry out death sentences upon receiving an execution

notice unless the condemned inmate chose electrocution. Without such an election, there was a de

facto inmate-imposed moratorium on executions in South Carolina.

        The General Assembly amended the methods-of-execution statute, on a bipartisan basis,

for the specific purpose of resolving the quandary in which SCDC found itself. In 2021, the

General Assembly passed and Governor McMaster signed into law Act 43. That act changed the

default method of execution to electrocution and added the firing squad as a third statutorily

approved method. See 2021 S.C. Acts No. 43, § 1 (amending S.C. Code Ann. § 24-3-530). Under

the act, a “person convicted of a capital crime and having imposed upon him the sentence of death

shall suffer the penalty by electrocution or, at the election of the convicted person, by firing squad

or lethal injection, if it is available at the time of election.” Id.

        Act 43 retained a condemned inmate’s ability to elect a method of execution if more than

electrocution is available. SCDC must notify an inmate of his opportunity to elect a method and

which methods are available through a certification of available methods that the Director files




                                                     4
      3:24-cv-05072-JDA          Date Filed 09/27/24        Entry Number 25      Page 5 of 28




with the S.C. Supreme Court. Id. If the inmate does not make an election within 14 days of his

execution, or if lethal injection and the firing squad are unavailable, electrocution is the default

method. Id. Finally, the Act makes clear that it “applies to persons sentenced to death as provided

by law prior to and after [its] effective date.” Id. § 3.

        C.      South Carolina enacts the Shield Statute, and SCDC obtains pentobarbital.

        Act 43 was quickly challenged by condemned inmates, including several Plaintiffs here.

The S.C. Supreme Court initially remanded the case for more discovery on why SCDC had been

unable to obtain lethal injection drugs. See Owens v. Stirling, 438 S.C. 352, 361, 882 S.E.2d 858,

862–63 (2023). While the state court litigation was on remand, the General Assembly passed the

Shield Statute in 2023 to facilitate SCDC obtaining lethal injection drugs. See 2023 S.C. Acts No.

16.

        That law protects any entity that “manufactures,” “compounds,” or “supplies” the

“drugs . . . utilized in the execution of a death sentence” from having its identity disclosed, as well

as protecting the identity of any person who “participates in the planning or administration of the

execution of a death sentence.” S.C. Code Ann. § 24-3-580(A)(1). “[A]ny identifying information”

about that entity “shall be confidential.” Id. § 24-3-580(B). “[I]dentifying information” is a

“broad[]” term that includes “any record or information that reveals a name, date of birth, social

security number, personal identifying information, personal or business contact information, or

professional qualifications.” Id. § 24-3-580(A)(2). The General Assembly declared the Shield

Statute “shall be broadly construed by the courts of this State so as to give effect to the General

Assembly’s intent to ensure the absolute confidentiality of the identifying information of any

person or entity directly or indirectly involved in the planning or execution of a death sentence

within this State.” Id. § 24-3-580(I).




                                                    5
      3:24-cv-05072-JDA         Date Filed 09/27/24        Entry Number 25     Page 6 of 28




       With the benefit of the Shield Statute, SCDC managed to obtain pentobarbital. After the

S.C. Supreme Court held that electrocution and the firing squad were constitutional, see Owens,

443 S.C. 246, 904 S.E.2d 580, all three methods of execution are now available.

       D.      Death Row Inmates challenge the Shield Statute.

       After the S.C. Supreme Court’s decision in July 2024 in Owens, the Court issued an

execution notice for Owens. That set off the predictable flurry of last-minute litigation, including

in the S.C. Supreme Court, over the sufficiency of Director Stirling’s certification that all three

methods of execution were available. Tracking the S.C. Supreme Court’s “extreme” illustration of

a more-than-sufficient explanation that the court “doubt[ed] there could be any legitimate legal

basis on which to mount a challenge,” Owens, 443 S.C. at 293, 904 S.E.2d at 605, the Director

explained that SLED’s Forensic Services Lab tested the pentobarbital that would be used if Owens

elected lethal injection. That lab, he noted, is “an internationally accredited forensic

laboratory . . . that . . . used widely accepted testing protocols and methodologies” with testing

performed by “experienced, qualified, and duly authorized personnel.” Certification ¶ 10, ECF No.

1-3. The testing “confirmed the concentration of the solution provided is consistent with the vial

labeling of pentobarbital, 50 milligrams per milliliter, and acknowledged the substance’s

concentration in terms of its purity and stability.” Id.

       Despite this information from the Director’s certification, the Shield Statute, and his own

election, Owens demanded to know more about the pentobarbital. See Objection, ECF No. 1-5. He

sought additional details about the drug’s creation, the “Beyond Use Date,” actual test results, and

storage conditions, attempting to bolster his request with the same affidavit from the same expert

on whom Death Row Inmates rely here.

       The S.C. Supreme Court rejected Owens’s arguments. The certification “adequately




                                                   6
     3:24-cv-05072-JDA          Date Filed 09/27/24      Entry Number 25         Page 7 of 28




explain[ed]” how the Director determined that the pentobarbital was sufficiently “poten[t], pur[e],

and stab[le]” and provided Owens “sufficient detail” “to make an informed election.” S.C.

Supreme Court Order 1–2, ECF No. 1-7.

         Having failed to convince the S.C. Supreme Court to require SCDC to disclose additional

information, Death Row Inmates came to federal court. They assert four claims based on the Shield

Statute: (1) an as-applied challenge; (2) a facial challenge; (3) an access-to-courts claim; and (4) a

right-to-counsel claim.

         Before anything else happened in this case, Owens sought to stay his execution. This Court

found that Owens was unlikely to prevail on his as-applied procedural due process claim, so it

declined to stay his execution. See Order, ECF No. 19. So did the Fourth Circuit. See Order, No.

24-3 (4th Cir. Sept. 20, 2024). And the Supreme Court. See Order, No. 24-5603 (U.S. Sept. 20,

2024).

         Defendants now move to dismiss Death Row Inmates’ Complaint.

                                   STANDARD OF REVIEW

         Under Rule 12(b)(1), a court must dismiss a claim if the court lacks subject-matter

jurisdiction over that claim. A motion to dismiss for lack of subject-matter jurisdiction raises the

issue of whether a court has the “power to adjudicate cases or controversies.” United States v.

Wilson, 699 F.3d 789, 793 (4th Cir. 2012). Federal courts are courts of limited jurisdiction and

“may not exercise jurisdiction absent a statutory basis.” Exxon Mobil Corp. v. Allapattah Servs.,

Inc., 545 U.S. 546, 552 (2005). Upon a challenge to subject-matter jurisdiction, the plaintiff bears

the burden of proving, by a preponderance of evidence, the existence of jurisdiction. Robb Evans

& Assocs., LLC v. Holibaugh, 609 F.3d 359, 362 (4th Cir. 2010).

         To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain factual




                                                  7
     3:24-cv-05072-JDA         Date Filed 09/27/24      Entry Number 25        Page 8 of 28




allegations that state a plausible claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009).

Although well-pleaded factual allegations must be accepted as true, the Court need not accept as

true legal conclusions, unwarranted inferences, or arguments cast as factual allegations. See id.

                                          ARGUMENT

I.     Due process does not entitle Death Row Inmates to additional information about
       lethal injection drugs and execution team members.

       Death Row Inmates’ first claim is a familiar one, given that the preliminary injunction

motion Owens filed focused on this claim. See ECF No. 5. They assert an as-applied challenge to

the adequacy of the information that they are provided by the Director’s certification of the

available methods for an execution under section 24-3-530(B). See Compl. ¶¶ 33–43, ECF No. 1.

This claim fails for two reasons.

       A.      Death Row Inmates are precluded from asserting this claim here.

       Death Row Inmates explicitly base this claim on “the state supreme court’s refusal” to

provide additional information about lethal injection drugs. Compl. ¶¶ 37, 39, 43, ECF No. 1. What

the S.C. Supreme Court has held is therefore crucial to understanding this claim and why it fails.

       In its decision resolving a state-law method-of-execution challenge, the S.C. Supreme

Court explained that the Director “must explain . . . the basis for his determination” that lethal

injection is available. Owens, 443 S.C. at 292, 904 S.E.2d at 604. The S.C. Supreme Court gave

an upper “extreme” example for how the Director might determine whether lethal injection is

available:

               [I]f the Director certified in the affidavit that scientists at the
               Forensic Services Lab of the South Carolina Law Enforcement
               Division (SLED), whose experience and qualifications were verified
               by the Director and the Chief of SLED, recently performed testing
               according to widely accepted testing protocols and found the drugs
               were not only stable, but of a clearly acceptable degree of purity,




                                                 8
      3:24-cv-05072-JDA         Date Filed 09/27/24       Entry Number 25         Page 9 of 28




               then we doubt there could be any legitimate legal basis on which to
               mount a challenge.

Id. at 293, 904 S.E.2d at 605 (2024).

       That’s exactly how Director Stirling determined that lethal injection was available for

Owens’s execution. See Certification ¶ 10, ECF No. 1-3. He explained that the “accredited” lab

used “widely accepted testing protocols” and “experienced, qualified, and duly authorized

personnel” to confirm the drug’s “purity and stability.” Id.

       Despite the Director following the S.C. Supreme Court’s illustration of a more-than-

sufficient explanation, Owens complained to that court that the Director’s certification wasn’t good

enough. He demanded to know the same information Death Row Inmates seek here, using the

same affidavit from the same expert on which Death Row Inmates now rely. See Almgren Aff.,

ECF No. 1-6 (with S.C. Supreme Court “Received” stamp). In lodging his objection, Owens

explicitly invoked due process as a basis for needing more information to “make an adequately

informed election.” See Objection 1, 2, 4, ECF No. 1-5.

       The S.C. Supreme Court disagreed that Owens was entitled to anything further. The

Director had “adequately explain[ed]” how he concluded that the pentobarbital was sufficiently

“poten[t], pur[e], and stab[le],” so Owens already had “sufficient detail” “to make an informed

election,” S.C. Supreme Court Order 1–2, ECF No. 1-7—which was precisely what the S.C.

Supreme Court required the Director to do, Owens, 443 S.C. at 291, 904 S.E.2d at 604.

       Death Row Inmates are precluded from relitigating in this Court what information a

certification must include. Collateral estoppel applies whenever an issue was “(1) actually litigated

in the prior action; (2) directly determined in the prior action; and (3) necessary to support the prior

judgment” Carolina Renewal, Inc. v. S.C. Dep’t of Transp., 684 S.E.2d 779, 782 (Ct. App. 2009).

       First, due process was litigated in the S.C. Supreme Court. Owens raised it, see Objection


                                                   9
     3:24-cv-05072-JDA        Date Filed 09/27/24      Entry Number 25        Page 10 of 28




1, 2, 4, ECF No. 1-5, and the State responded on that issue, see Return 4–5, No. 2024-0013987

(S.C. Sept. 5, 2024).

        Second, due process was directly decided. True, the S.C. Supreme Court may not have

used the words “due process” in its order on Owens’s objection. See S.C. Supreme Court Order,

ECF No. 1-7. But the S.C. Supreme Court had already recognized that there was a “Due Process

Clause component” involved in determining whether the certification is sufficient, Owens, 443

S.C. at 292, 904 S.E.2d at 604, so the court’s decision not to discuss due process necessarily meant

that the court did not see any due process problems with the Director’s certification. If the

certification did raise those concerns, the S.C. Supreme Court would have had to address it. See

U.S. Const. art. VI, cl. 2.

        Third, due process was necessary to the judgment. Without considering due process (even

implicitly), the S.C. Supreme Court could not have denied Owens’s objection.

        That the remaining Death Row Inmates were not parties to that proceeding does not alter

the analysis. South Carolina recognizes nonmutual collateral estoppel based on “[p]rinciples of

finality, certainty, and the proper administration of justice.” Snavely v. AMISUB of S.C., Inc., 379

S.C. 386, 398, 665 S.E.2d 222, 228 (Ct. App. 2008). This case may present an unusual set of facts

on the preclusion front, but the logic of the doctrine applies with full force. Owens had every

incentive to litigate the question in the S.C. Supreme Court, and Death Row Inmates here

consciously invoked Owens’s fight in the S.C. Supreme Court as the basis for their claim here (and

Owens in fact joined them in that effort). The State should not be required “to relitigate the

identical question” in the federal courts. Id.; cf. Order 14–15 n.9, ECF No. 19 (Rooker-Feldman

barred Owens from relitigating this claim). Allowing Death Row Inmates to relitigate the same

issue and effectively appeal the state supreme court’s order in federal court would only add to the




                                                10
     3:24-cv-05072-JDA        Date Filed 09/27/24      Entry Number 25        Page 11 of 28




“[t]he seemingly endless proceedings that have characterized capital litigation” in recent decades.

Baze v. Rees, 553 U.S. 35, 69 (2008) (Alito, J., concurring).

       B.      This claim fails on the merits.

       Even if Death Row Inmates were entitled to relitigate the question, they still lose.

Procedural due process is “flexible,” accounting for the facts of a case. Wilkinson v. Austin, 545

U.S. 209, 224 (2005). What process is due in any situation considers the private interest involved,

the risk of an erroneous deprivation, and the government’s interest. Mathews v. Eldridge, 424 U.S.

319, 335 (1976). Death Row Inmates cannot meet any element of that test.

               1.      Death Row Inmates overread their statutory opportunity to elect a
                       method of execution.

       South Carolina law gives a condemned inmate the opportunity to elect the firing squad or

lethal injection, instead of electrocution, if those methods are available. See S.C. Code Ann. § 24-

3-530(A). The S.C. Supreme Court called this “choice” an “innovation” because “a condemned

inmate in South Carolina will never be subjected to execution by a method he contends is more

inhumane than another method that is available.” Owens, 443 S.C. at 298, 904 S.E.2d at 608.

       Death Row Inmates ask this Court to stretch that statutory choice beyond what the S.C.

General Assembly intended it to mean. Cf. Hodges v. Rainey, 341 S.C. 79, 85, 533 S.E.2d 578,

581 (2000) (South Carolina’s “cardinal rule of statutory construction is to ascertain and effectuate

the intent of the legislature”). They cherry-pick quotes from the S.C. Supreme Court’s recent

methods-of-execution case about the Director having to explain the basis for his determination that

lethal injection is available, see Compl. ¶ 38, ECF No. 1, but they ignore other parts of the state

court’s discussion. Most notably, the S.C. Supreme Court explained that, whatever the Director

includes in his certification, the Director still “must comply with the confidentiality requirements

of the shield statute.” Owens, 443 S.C. at 291, 904 S.E.2d at 604. In other words, the right to



                                                 11
     3:24-cv-05072-JDA        Date Filed 09/27/24      Entry Number 25        Page 12 of 28




elect—and any accompanying entitlement to information—must be read in conjunction with the

Shield Statute.

       That’s unsurprising. In South Carolina (as in most jurisdictions), “[s]tatutes dealing with

the same subject matter must be reconciled, if possible, so as to render both operative.” Hodges,

341 S.C. at 88, 533 S.E.2d at 583. This conclusion is buttressed by the fact that the S.C. General

Assembly enacted the Shield Statute after amending the methods-of-execution statute that will

allow Death Row Inmates to elect a method, and “[t]he more recent and specific legislation

controls if there is a conflict between two statutes.” Id. at 89 n.3, 533 S.E.2d at 583 n.3; compare

2023 S.C. Acts No. 16, with 2021 S.C. Acts No. 43.

       Thus, as a matter of state law, Death Row Inmates will receive sufficient information to

make their elections. See S.C. Supreme Court Order, ECF No. 1-7. As the S.C. Supreme Court

acknowledged, that court “doubt[ed] there could be any legitimate legal basis on which to mount

a challenge” if the Director’s certification was based on testing by SLED. Owens, 443 S.C. at 293,

904 S.E.2d at 605.

       Still, if Death Row Inmates were correct that federal law required that they receive more

information than the Shield Statute permits, they would lose the right to elect. In amending the

methods-of-execution statute, the General Assembly included a robust severability clause. See

2021 S.C. Acts No. 43, § 2. The later-enacted Shield Statute came only after the S.C. Supreme

Court had remanded Owens’s state court litigation earlier in 2023 for more discovery on why

SCDC had been unable to obtain lethal injection drugs. See Owens, 438 S.C. at 361, 882 S.E.2d at

862–63. The Shield Statute seeks to protect the State from the “well-known phenomenon in which

drug suppliers, once exposed to pressure from activists opposed to the death penalty, refuse to

supply drugs to state corrections departments.” Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 184




                                                12
     3:24-cv-05072-JDA         Date Filed 09/27/24       Entry Number 25        Page 13 of 28




(4th Cir. 2019). Based on the legislature’s aim to make—and keep—lethal injection available,

severing the right to elect would be the only recourse if Death Row Inmates were right. It’s not a

consent protective order or limited disclosure. Cf. Compl. ¶ 56, ECF No. 1. The General Assembly

made clear its “intent to ensure the absolute confidentiality of the identifying information of any

person or entity directly or indirectly involved in the planning or execution of a death sentence.”

S.C. Code Ann. § 24-3-580(I) (emphasis added); id. § 24-3-580(C) (disclosing protected

information is punishable by up to three years in prison).

       This comports with this Court’s conclusion on Owens’s preliminary injunction motion that

section 24-3-530 “gives [a condemned inmate] the right to choose his method of execution—

period, not the right to discover what is, objectively, the best choice, nor the right to discover

whether the execution methods are constitutional.” Order 15, ECF No. 19 (footnote omitted).

               2.      Death Row Inmates offer only speculation about the pentobarbital.

       Death Row Inmates look to Almgren’s affidavit to support their claim for more information

about lethal injection drugs, see Compl. ¶ 26, ECF No. 1, but she only hypothesizes about what

could be true “if” certain conditions were met or what “may” happen if other things were true,

Almgren Aff. ¶¶ 7, 8, ECF No. 1-6.

       “[S]peculation” about a drug “cannot substitute for evidence” about it. Brewer v.

Landrigan, 562 U.S. 996, 996 (2010); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007) (“Factual allegations must be enough to raise a right to relief above the speculative level.”).

Courts have been consistent on this front. The Fifth Circuit, for example, once vacated a stay of

an execution when an inmate had not received all the information he wanted about the

pentobarbital that would be used, explaining that “the case might be different” only if a drug was

“never before used or unheard of” and the “efficacy or science was completely unknown.” Sells v.




                                                 13
     3:24-cv-05072-JDA          Date Filed 09/27/24       Entry Number 25         Page 14 of 28




Livingston, 561 F. App’x 342, 344 (5th Cir. 2014), stay of execution denied by 572 U.S. 1044

(2014). The Ninth Circuit recently refused to stay an execution based on “arguments about the

provenance, quality, and reliability of the drug” that were “purely speculative.” Creech v. Tewalt,

94 F.4th 859, 862–63 (9th Cir. 2024). And the list goes on. See, e.g., Zink v. Lombardi, 783 F.3d

1089, 1103 (8th Cir. 2015) (en banc); Wellons v. Comm’r, Ga. Dep’t of Corr., 754 F.3d 1260,

1265–66 (11th Cir. 2014); cf. Bucklew v. Precythe, 587 U.S. 119, 144 (2019) (explaining why

arguments based on “speculation” about lethal injection fail).

       Although Death Row Inmates say they need more information, they only speculate that the

requested information would change the election they will make. As the Director’s certification

for Owens’s execution showed, SLED’s “internationally accredited” lab “used widely accepted

testing protocols and methodologies” and “experienced, qualified, and duly authorized personnel”

to test the pentobarbital for its “purity and stability.” Certification ¶ 10, ECF No. 1-3. Nothing

Death Row Inmates allege casts any credible doubt on SLED’s testing or suggests that an execution

is likely to be botched (as Owens’s recent execution demonstrated). See Bucklew 587 U.S. at 144

(speculation isn’t enough). So, for instance, Death Row Inmates have not alleged that the

transportation or storage of the drugs would likely change the results of the testing or their election.

As just one more example, their demand for any applicable expiration or “Beyond Use” date

implies that the Director would certify that lethal injection were available even if the pentobarbital

would expire or no longer be usable before an execution date—something for which they have no

plausible basis to allege. Death Row Inmates want more information so that their expert, rather

than Director Stirling, can determine whether the drugs are sufficient for carrying out an execution.

Yet that does not excuse Death Row Inmates from sufficiently alleging that more information is

necessary for them to make the election that the General Assembly, through the exercise of




                                                  14
     3:24-cv-05072-JDA        Date Filed 09/27/24      Entry Number 25        Page 15 of 28




legislative grace, afforded them. To the contrary, far from satisfying their burden, Death Row

Inmates’ implausible implication and request for more information only underscore the conjectural

nature of their claim. See Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 381

(2024) (“An injury in fact must be ‘concrete,’ meaning that it must be real and not abstract.”).

       In the same way, Death Row Inmates only speculate about the need for details about the

qualifications of the execution team members who will insert the IV. That other States may have

experienced difficulties in specific cases (often involving inmates with complicating medical

conditions, such as an Alabama inmate with cancer in 2018 or an Arizona inmate with a

degenerative spinal condition in 2022) does not mean that South Carolina will. 3

               3.      South Carolina has a strong interest in protecting information about
                       lethal injection drugs and execution team members.

       South Carolina has a “significant interest in enforcing its criminal judgments,” Nelson, 541

U.S. at 650, and its law generally, cf. Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts,

C.J., in chambers) (State suffers “irreparable injury” “[a]ny time” its law is enjoined). To protect

those interests, courts should not be “transformed . . . into boards of inquiry charged with

determining ‘best practices’ for executions.” Baze, 553 U.S. at 51 (plurality). Sanctioning that

transformation would result in endless new “round[s] of litigation,” “embroil the courts in ongoing

scientific controversies beyond their expertise,” and “substantially intrude on the role of state

legislatures in implementing their execution procedures.” Id. Yet that is what Death Row Inmates

implicitly ask this Court to do. Rather than treat procedural due process as a floor to ensure basic

protections (which they will receive from Director Stirling’s certification), Death Row Inmates




       3
         All this speculation carries even less weight after Owens’s execution involved no reports
of any issues.


                                                15
     3:24-cv-05072-JDA         Date Filed 09/27/24       Entry Number 25        Page 16 of 28




demand at least six additional categories of information. The Court should decline the invitation

to nudge open the door that the Supreme Court closed in Baze.

       The State also has a strong interest in continuing to obtain lethal injection drugs for future

executions. To that end, protecting the sources of these drugs is vital. “[D]isclosure of the supplier

for a particular drug used by a state in executions will have predictable consequences: anti-death

penalty advocates will hound the supplier of that drug until the supplier capitulates and ceases

supplying the drug.” Jordan v. Comm’r, Miss. Dep’t of Corr., 947 F.3d 1322, 1341 (11th Cir.

2020). Just as the Shield Statute was an important tool for making lethal injection available for

Owens, it plays an equally critical role in maintaining this method as an option.

       The risk of disclosure isn’t hypothetical. Attempts to learn more about these drugs

predictably come from death row inmates in South Carolina. But they also come from other

sources. For instance, a death row inmate in Idaho, represented by a federal public defender,

recently sent a subpoena to SCDC for information about its drugs and sources. See generally

Pizzuto v. Tewalt, No. 1:21-cv-359 (D. Idaho). Examples abound in other States. See, e.g., Va.

Dep’t of Corr., 921 F.3d at 194 (attempt by Mississippi inmates to obtain Virginia information).

No matter what steps are taken to protect information in discovery, there remains “the inherent

danger and hardship that would follow even an inadvertent disclosure.” Jordan v. Hall, No. 3:15-

CV-295, 2018 WL 1546632, at *11 (S.D. Miss. Mar. 29, 2018) (emphasis added).

       That other States may disclose additional or different information is immaterial here for at

least three reasons. First, other States have had different experiences with lethal injection drugs

than South Carolina has. The struggle that South Carolina has had compared to other States in

obtaining drugs for lethal injection makes South Carolina understandably more intent on protecting

its ability to secure those drugs moving forward.




                                                 16
      3:24-cv-05072-JDA        Date Filed 09/27/24       Entry Number 25        Page 17 of 28




       Second, other States’ previous approaches may not work now or here. Less than three

months ago, NPR publicly identified Texas’s drug supplier. See Chiara Eisner, Unmarked Cars

and Secret Orders: How a Pharmacy Prepared Drugs for Texas’ Executions, NPR (July 10, 2024),

https://tinyurl.com/3ypzp2ek. And Utah just saw fit to adopt a more robust shield law. See Utah

Code Ann. §§ 64-13-27(3)–(4) (enacted in 2024). What’s more, these States’ willingness to

disclose more information does not protect them from the inevitable lawsuits that condemned

inmates bring as their execution dates approach.

       And third, all States do not need the same approach. The Supreme Court has “long

recognized the role of the States as laboratories for devising solutions to difficult legal problems.”

Oregon v. Ice, 555 U.S. 160, 171 (2009) (citing New State Ice Co. v. Liebmann, 285 U.S. 262, 311

(1932) (Brandeis, J., dissenting)). Just because some States disclose different or additional

information does not mean South Carolina must too. The Constitution does not require South

Carolina to tally up what other States do, much less copy them. Ultimately, Death Row Inmates

may disagree with South Carolina’s Shield Statute, but South Carolina is where they chose to

commit their crimes.

II.    The Shield Statute is constitutional.

       Death Row Inmates proffer four facial attacks on the Shield Statute, but none has merit.

       A few preliminary points on this claim: First, it is a facial challenge, so Death Row Inmates

“can only succeed” if they “establish[] that no set of circumstances exists under which the [Shield

Statute] would be valid.” Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 449

(2008). This is therefore “the most difficult challenge to mount successfully.” United States v.

Salerno, 481 U.S. 739, 745 (1987).

       Second, legislatures—not courts—set policy, and courts cannot overrule legislative policy




                                                 17
     3:24-cv-05072-JDA        Date Filed 09/27/24      Entry Number 25        Page 18 of 28




judgments short of a constitutional flaw. E.g., SCA Hygiene Prod. Aktiebolag v. First Quality Baby

Prod., LLC, 580 U.S. 328, 345 (2017) (a court “cannot overrule Congress’s judgment based on

[the court’s] own policy views”); Richland Cnty. Sch. Dist. 2 v. Lucas, 434 S.C. 299, 306–07, 862

S.E.2d 920, 924 (2021) (a court may “not sit as a superlegislature to second guess the wisdom or

folly of decisions of the General Assembly”).

       Third, allegations must be “plausible” to survive a motion to dismiss. Twombly, 550 U.S.

at 570. Speculation about lethal injection drugs won’t suffice. E.g., Brewer, 562 U.S. 996 (vacating

stay of execution); see also Food & Drug Admin., 602 U.S. at 381 (injury-in-fact requirement).

       A.      Death Row Inmates are not entitled to information about manufacturing or
               compounding.

       Death Row Inmates start by demanding to know the “manufacturing or compounding

process” for the pentobarbital. Compl. ¶ 47, ECF No. 1. They acknowledge that the Shield Statute

protects that information. See S.C. Code Ann. §§ 24-3-580(A)(1), (A)(2), and (B). Yet they insist

that, based “[o]n information and belief,” they must know the qualifications of a manufacturer or

compounder to know “whether there is a risk those drugs will lack the potency, purity, and stability

needed to bring about death without inflicting serious pain.” Compl. ¶ 47, ECF No. 1.

       Two things stand out about this assertion. One, it is speculative. They do not offer any

plausible allegation that SCDC faces any such issues with an “unqualified or unreliable”

manufacturer or a “compounding process [that] is not followed properly.” Id. Such bald assertions

don’t come close to Twombly’s plausibility standard, and they are exactly the type that courts have

consistently rejected. See, e.g., Creech, 94 F.4th at 862–63 (“Creech’s other arguments about the

provenance, quality, and reliability of the drug are purely speculative and are based on

unauthenticated exhibits submitted with his motion and the conjecture of his expert.”); Zink, 783

F.3d At 1102–03 (“the prisoners’ complaint contains no more than speculative and hypothetical



                                                18
     3:24-cv-05072-JDA        Date Filed 09/27/24      Entry Number 25        Page 19 of 28




generalized assertions about the nature of compounding pharmacies”); cf. Food & Drug Admin.,

602 U.S. at 381 (injury-in-fact requirement).

       Two, this assertion completely discounts the State’s interest in protecting its source of

lethal injection drugs. Courts have repeatedly acknowledged that if these sources are disclosed,

they typically stop selling to departments of corrections. See, e.g., Jordan, 947 F.3d at 1341

(“predictable consequences”); Va. Dep’t of Corr. v. Jordan, 921 F.3d at 184 (“well-known

phenomenon”). Condemned inmates should not be permitted to take state officials a bit further

each time to see how much information they can receive before the supplier is disclosed, which

can happen either inadvertently (despite protections against it), see Jordan, 2018 WL 1546632, at

*11, or through deliberate investigation, see Eisner, supra (disclosing Texas’s supplier).

       B.      Death Row Inmates are not entitled to information about execution team
               members’ qualifications.

       Death Row Inmates make a similar demand for information about the execution team

members’ qualifications, pointing specifically to issues that other States have experienced with

inserting IV lines. See Compl. ¶ 48, ECF No. 1.

       As with their first argument on this claim, Death Row Inmates face two problems here. The

first is (again) speculation. See Food & Drug Admin., 602 U.S. at 381 (injury-in-fact requirement).

They point to no record of such problems in South Carolina, and they ignore that these instances

of problems with IV lines often involve condemned inmates with complicating medical conditions.

See Death Penalty Information Center, Botched Executions, https://tinyurl.com/yc3ddx4t (last

visited Sept. 24, 2024) (e.g., Hamm, 2018, Alabama: suffering from cancer; Atwood, 2022

Arizona: degenerative spinal condition).

       The second is that Death Row Inmates ignore what SCDC said publicly before the Shield

Statute was enacted. In a case brought by another condemned inmate, SCDC’s former director of



                                                19
     3:24-cv-05072-JDA         Date Filed 09/27/24      Entry Number 25        Page 20 of 28




the Division of Operations submitted an affidavit about the qualifications of team members in that

inmate’s execution. The policy for execution procedures that he attached to his affidavit stated that

the EMT or PA who inserted the IV must be certified for at least one year and have “experience in

siting and inserting IV lines.” Aff. of Robert Ward, Ex. A, at § 17.3, Williams v. Ozmint, No. 3:08-

cv-655 (D.S.C. Feb. 10, 2009), ECF No. 112-1.

       C.       The Shield Statute permissibly exempts the purchase of drugs from the
                procurement code and other licensing requirements.

       Death Row Inmates also challenge the Shield Statute’s exemption from regulatory and

licensing requirements, asserting that these exemptions remove necessary safeguards. See Compl.

¶¶ 49–50, ECF No. 1.

       Once again, the cornerstone of this claim is speculation. If Death Row Inmates had any

facts they could allege to support this claim, they would have more than “[o]n information and

belief” and theory. Id. ¶ 50. Just as their prior speculative assertions cannot survive a motion to

dismiss, neither can this one. See Food & Drug Admin., 602 U.S. at 381 (injury-in-fact

requirement).

       Plus, Death Row Inmates’ argument here is undermined by SCDC’s testing of execution

drugs. The S.C. Supreme Court pointed to testing by SLED as the upper “extreme” example of

how the Director could “explain in the affidavit how he determined the drugs were of sufficient

‘potency, purity, and stability’ to carry out their intended purpose.” Owens, 443 S.C. at 293, 904

S.E.2d at 605. That’s exactly what Director Stirling did in Owens’s case, and this testing minimizes

(or even eliminates) any “risks of insufficient potency, contamination, or [the substance] being an

entirely difference substance than indicated on the label.” Compl. ¶ 50, ECF No. 1.




                                                 20
     3:24-cv-05072-JDA          Date Filed 09/27/24       Entry Number 25         Page 21 of 28




        D.      Death Row Inmates are not entitled to information about compliance with
                federal regulations.

        Death Row Inmates’ final facial challenge involves the requirement that SCDC comply

with federal regulations on importing drugs. See Compl. ¶ 51, ECF No. 1. In essence, they

complain that the Shield Statute keeps them from “determin[ing] whether federal compliance has

actually occurred.” Id.

        But this assumes that Death Row Inmates have a right to enforce this provision. They do

not. A person has a private right of action under a South Carolina statute only if the General

Assembly intends to create such a right. See Georgetown Cty. League of Women Voters v. Smith

Land Co., 393 S.C. 350, 353, 713 S.E.2d 287, 289 (2011). When the General Assembly does not

expressly create a private right of action, an implied right exists only “if the legislation was enacted

for the special benefit of the private party.” Dema v. Tenet Physician Servs.-Hilton Head, Inc., 383

S.C. 115, 121, 678 S.E.2d 430, 433 (2009). By contrast, “[i]f the overall purpose of the statute is

to aid society and the public in general, the statute is not enacted for the special benefit of a private

party,” and there is no private right of action. Id.

        The Shield Statute was not enacted for the benefit of Death Row Inmates. It is for the

benefit of the State and victims. Cf. Bucklew, 587 U.S. at 149 (“The people of [South Carolina],

the surviving victims of [Death Row Inmates’] crimes, and others like them deserve better” than

additional delay).

        Still, even if Death Row Inmates could sue to enforce this provision, Death Row Inmates’

claim suffers from the same flaw as the other aspects of their facial challenge: It is based on pure

speculation. They include no allegation (much less a plausible one) that SCDC has violated, is

violating, or would violate federal regulations.

                                           *       *       *



                                                   21
       3:24-cv-05072-JDA        Date Filed 09/27/24       Entry Number 25         Page 22 of 28




        At bottom, Death Row Inmates’ facial challenge appears to be a fishing expedition for

information about lethal injection drugs. But as explained on their next claim, see infra Part III,

federal law recognizes no such due process right to “discover grievances,” Lewis, 518 U.S. at 354

(emphasis omitted). They complain that lethal injections can be botched, 4 but multiple Death Row

Inmates admitted in the state court litigation that a single dose of pentobarbital is “the most reliable

and humane way to conduct a lethal injection.” R. p. 113, No. 2022-001280 (S.C. Oct. 27, 2022).

Plus, reciting rank speculation about the risk of botched executions is not a substitute for a legal

standard in execution-related lawsuits. See, e.g., Whitaker v. Collier, 862 F.3d 490, 501 (5th Cir.

2017); cf. Louisiana v. Resweber, 329 U.S. 459, 462 (1947) (“Accidents happen for which no man

is to blame.”). This is especially true on a facial challenge when a plaintiff must show “no set of

circumstances exists under which the [law] would be valid.” Wash. State Grange, 552 U.S. at 449.

III.    Death Row Inmates have not been denied access to the courts.

        Death Row Inmates’ third claim alleges that their inability to obtain the additional

information they seek precludes them from asserting an Eighth Amendment challenge in court,

which violates the First and Fourteenth Amendments. See Compl. ¶¶ 59–69, ECF No. 1.

        Death Row Inmates point to Lewis v. Casey for the proposition that they must have “a

reasonably adequate opportunity to present claimed violations of fundamental constitutional rights

to the courts.” Compl. ¶ 64, ECF No. 1 (quoting 518 U.S. at 351). The Lewis Court recognized

that inmates have a right to bring their claims, but the Court also “disclaim[ed]” any suggestion

that a “State must enable the prisoner to discover grievances, and to litigate effectively once in



        4
          If Death Row Inmates are that worried about botched lethal injections, South Carolina
law allows them to elect the firing squad, which the source they cite says has a botched rate of 0%.
See Austin Sarat, Gruesome Spectacles 177 (2014) (providing a chart of “Botched execution
rate[s]” for 1900–2010, with a rate of 1.92% for electrocution, 0.0% for firing squad, and 7.12%
for lethal injection) (cited at Compl. ¶ 55 n.4, ECF No. 1).


                                                  22
      3:24-cv-05072-JDA        Date Filed 09/27/24       Entry Number 25         Page 23 of 28




court.” 518 U.S. at 354 (emphasis in original).

       Given this disclaimer, it’s no surprise that federal courts have consistently rejected claims

like this one. Condemned inmates in Arkansas challenged that State’s refusal to disclose certain

information as violating “their due process right to access the courts.” Williams v. Hobbs, 658 F.3d

842, 851 (8th Cir. 2011). The Eighth Circuit affirmed the dismissal of that claim. In doing so, the

court observed that a “right of access to the courts” differs from a right “to discover grievances.”

Id. at 851–52 (second quotation quoting Lewis, 518 U.S. at 354). Being unable to discover

information did not preclude the inmates from “physically” filing a claim. Id. at 852.

       The en banc Eighth Circuit reaffirmed this position a few years later. “State prisoners have

a constitutional ‘right of access to the courts,’ but this right does not guarantee the ability ‘to

discover grievances, and to litigate effectively once in court.’” Zink, 783 F.3d at 1108 (quoting

Lewis, 518 U.S. at 350, 354). The inmates’ “claim that they are unable to discover information

regarding the execution protocol is thus insufficient as a matter of law to state a due process claim.”

Id.

       Look next to the Eleventh Circuit. A Georgia death row inmate challenged that State’s

shield law, insisting that he had a right to know more about how he would be executed. Wellons,

754 F.3d at 1262. But the appellate court held that “[n]either the Fifth, Fourteenth, or First

Amendments afford Wellons the broad right to know where, how, and by whom the lethal injection

drugs will be manufactured, as well as the qualifications of the person or persons who will

manufacture the drugs, and who will place the catheters.” Id. at 1267 (cleaned up). The Eleventh

Circuit cited the Supreme Court’s disclaimer of the suggestion that a prisoner has a right to

“discover grievances” in reaching this conclusion. Id. (citing Lewis, 518 U.S. at 354).

       The Eleventh Circuit stood by this conclusion when another inmate challenged it a few




                                                  23
     3:24-cv-05072-JDA         Date Filed 09/27/24       Entry Number 25         Page 24 of 28




years later, raising a “free-standing due process claim for discovery, untethered to any other claim

currently in litigation.” Jones v. Comm’r, Ga. Dep’t of Corr., 812 F.3d 923 (11th Cir. 2016)

(Marcus, J., concurring in denial of initial hearing en banc). Again, the court looked to Lewis for

the proposition “that there is no due process right to discover grievances, and to litigate effectively

once in court,’” which made the inmate’s “freestanding due process challenge to Georgia’s secrecy

statute . . . unmeritorious.” Id. at 924–25 (quoting Lewis, 518 U.S. at 354)); see also Terrell v.

Bryson, 807 F.3d 1276, 1277 (11th Cir. 2015) (per curiam) (death row inmate “has not

demonstrated a due process right to the information that Georgia law keeps secret”).

         Other circuits are in accord. The Sixth Circuit, pointing to the same language from Lewis,

quickly disposed of a due process claim for more information: “no constitutional right exists to

discover grievances or to litigate effectively once in court.” Phillips v. DeWine, 841 F.3d 405, 420

(6th Cir. 2016). And the Fifth Circuit rejected a due process theory based on Louisiana’s refusal

to disclose the “details of its execution protocol.” Sepulvado v. Jindal, 729 F.3d 413, 420 (5th Cir.

2013).

         When a few courts have thought that due process required a State to disclose more

information to death row inmates, the Supreme Court has swiftly reversed. The Ninth Circuit, for

example, stayed an Arizona inmate’s execution after the State withheld information about the

drugs for his execution, reasoning that the inmate likely had a First Amendment right to that

information. Wood v. Ryan, 759 F.3d 1076, 1079 (9th Cir. 2014). The Supreme Court summarily

vacated the stay. Ryan v. Wood, 573 U.S. 976 (2014). Similarly, the District of Maryland—despite

“locat[ing] no cases specifically establishing a right of production”—stayed an inmate’s execution

because it presupposed “[f]undamental fairness, if not due process, requires that the execution

protocol that will regulate an inmate’s death be forwarded to him in prompt and timely fashion.”




                                                  24
     3:24-cv-05072-JDA          Date Filed 09/27/24       Entry Number 25         Page 25 of 28




Oken v. Sizer, 321 F. Supp. 2d 658, 664 (D. Md. 2004). Again, the Supreme Court summarily

vacated the stay. Sizer v. Oken, 542 U.S. 916 (2004).

        Even if they didn’t face this overwhelming caselaw, Death Row Inmates cannot offer any

credible argument for breaking with the holdings of these other courts based on first principles. In

the first place, the “right” is “access to the courts.” Lewis, 518 U.S. at 350 (emphasis omitted). The

“right” is not “to discover” information. Id. at 354 (emphasis omitted). In fact, “[a]s a general rule,

citizens have no first amendment right of access to traditionally nonpublic government

information.” McGehee v. Casey, 718 F.2d 1137, 1147 (D.C. Cir. 1983) (collecting Supreme Court

cases)). That is why governments enacted FOIAs. See, e.g., 5 U.S.C. § 552; S.C. Code Ann. §§ 30-

4-10 et seq.; cf. S.C. Code Ann. § 30-4-30(A)(1) (inmates may not send FOIA requests). Death

Row Inmates would have the Court disregard all this law and break new ground to fashion a due

process right to government information that a plaintiff claims is necessary to bring a lawsuit.

        And in the second, Death Row Inmates’ argument would fundamentally upend our judicial

system. A plaintiff must have an actual injury caused by a defendant that a court can remedy. See

Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). To have a claim progress past the initial stages,

a plaintiff must allege “enough facts to state a claim to relief that is plausible on its face.” Twombly,

550 U.S. at 570. If a plaintiff does that, he can proceed with discovery. See Fed. R. Civ. P. 26.

Accepting Death Row Inmates’ theory here would flip this well-established process on its head

and adopt “the novel idea that the law will (or should) allow discovery first, and only then require

[a plaintiff] to meet the standards prescribed by the Supreme Court.” Jones, 812 F.3d at 925. Such

a flip would subject the courts to a flood of litigation from plaintiffs (including inmates) who would

sue first to learn what their claims were.




                                                   25
      3:24-cv-05072-JDA        Date Filed 09/27/24       Entry Number 25         Page 26 of 28




IV.    Death Row Inmates have not been denied their right to counsel.

       Death Row Inmates’ final claim is that the Shield Statute “constructively denie[s] . . . their

statutory right to the assistance of counsel.” Compl. ¶ 73, ECF No. 1. In short, they claim that their

lawyers cannot obtain “the information needed to make a fully informed decision about [Death

Row Inmates’] chosen method of execution.” Id.

       Death Row Inmates are statutorily entitled to appointed counsel if they cannot afford an

attorney through every stage of litigation. See 18 U.S.C. § 3599(a). Death Row Inmates seek to

take this statutory gift from Congress and transmogrify it into an end-around to obtain information

that they themselves are not entitled to. They cannot use their lawyers’ representation to obtain

what they cannot because an agent cannot have greater authority than a principal. See Hyams v.

Carroll, 146 S.C. 470, 475, 144 S.E. 153, 154 (1928) (“certainly its agent could not enjoy greater

powers than the principal”). In other words, Death Row Inmates cannot use the backdoor just

because the front door is closed. Cf. Just. 360 v. Stirling, 42 F.4th 450, 452 (4th Cir. 2022) (lawyers

lacked standing to sue for SCDC’s execution protocol on a theory that not receiving it “violates

[their] First Amendment right to counsel clients”).

V.     SCDC enjoys Eleventh Amendment immunity.

       The Supreme Court “has drawn upon principles of sovereign immunity to construe the

[Eleventh] Amendment to establish that ‘an unconsenting State is immune from suits brought in

federal courts by her own citizens as well as by citizens of another state.” Port Auth. Trans-Hudson

Corp. v. Feeney, 495 U.S. 299, 304 (1990). This immunity extends to “state instrumentalities.”

Regents of the Univ. of Cal. v. Doe, 519 U.S. 425, 429 (1997).

       This Court has consistently held that SCDC is an instrumentality of the State. See, e.g.,

Brown v. SC Dep’t of Corr., No. 8:20-CV-01159-TMC-JDA, 2020 WL 3001787, at *3 (D.S.C.




                                                  26
     3:24-cv-05072-JDA        Date Filed 09/27/24      Entry Number 25        Page 27 of 28




May 15, 2020), report and recommendation adopted, No. 8:20-CV-1159-TMC, 2020 WL

2994234 (D.S.C. June 4, 2020); Gary v. S.C. Dep’t of Corr., No. CA 8:12-2915-MBS-JDA, 2012

WL 5554098, at *1 (D.S.C. Oct. 23, 2012), report and recommendation adopted, No. CA 8:12-

2915-MBS, 2012 WL 5553293 (D.S.C. Nov. 15, 2012). Ex parte Young, of course, cannot help

Death Row Inmates here, as that fiction applies only to injunctive relief against an “officer” whose

official duties include carrying out the challenged law. 209 U.S. 123, 157 (1908). SCDC is not an

officer; it’s an agency. Thus, at the very least, SCDC should be dismissed.

                                         CONCLUSION

       The Court should grant the Motion to Dismiss.

                                              Respectfully Submitted,

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                                                27
    3:24-cv-05072-JDA   Date Filed 09/27/24   Entry Number 25      Page 28 of 28




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                                       28
